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                         EXHIBIT E
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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF ILLINOIS


     Sheilar Smith, Kasandra Anton, Bonnie            )
     Bailey, Peggy Wise, and June Schwierjohn,        )
     on behalf of themselves, individually, and       )
     on behalf of all other similarly situated, and   )
     on behalf of the OSF Plans,                      )
                                                      )
                            Plaintiffs,               )
                                                      )    No. 3:16-cv-00467-SMY-RJD
     v.                                               )
                                                      )
     OSF HealthCare System; The Sisters of the        )
     Third Order of St. Francis Employees             )
     Pension Plan Administrative Committee;           )
     and Retirement Committee for the                 )
     Retirement Plan for Employees of Saint           )
     Anthony’s Health Center,                         )
                                                      )
                            Defendants.
                                                      )

      JOINT DECLARATION OF LAURA R. GERBER AND MICHELLE C. YAU
 IN SUPPORT OF PLAINTIFFS’ UNOPPOSED MOTIONS FOR FINAL APPROVAL OF
   SETTLEMENT AGREEMENT AND CERTIFICATION OF SETTLEMENT CLASS
 AND FOR AWARD OF ATTORNEYS’ FEES AND REIMBURSEMENT OF EXPENSES,
                     AND FOR INCENTIVE AWARDS

           Laura R. Gerber and Michelle C. Yau respectfully submit this Joint Declaration in

 Support of: (1) Plaintiffs’ Unopposed Motion for Final Approval of Settlement Agreement and

 Certification of Settlement Class; and (2) Plaintiffs’ Unopposed Motion for Award of Attorneys’

 Fees and Reimbursement of Expenses, and for Incentive Awards (“Joint Declaration”). This

 Settlement,1 if approved by the Court, will resolve this class action in its entirety.


 1
     Capitalized terms not otherwise defined in this Joint Declaration shall have the same meaning
     ascribed to them in the Class Action Settlement Agreement (“Settlement Agreement” or
     “Settlement”). A copy of the Settlement Agreement is attached as Exhibit A to the
     Memorandum in Support of Plaintiffs’ Unopposed Motion for Final Approval of Settlement
     Agreement and Certification of Settlement Class (“Final Approval Memorandum”), filed
     contemporaneously herewith. Referenced Exhibits B through N are also attached to the Final
     Approval Memorandum.


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           Pursuant to 28 U.S.C. § 1746, we declare as follows:

            1.     Laura R. Gerber is a Partner at Keller Rohrback L.L.P. (“Keller Rohrback”), one

     of the two firms preliminarily approved as Class Counsel for Sheilar Smith, Kasandra Anton,

     Bonnie Bailey, Peggy Wise, and June Schwierjohn as the class representatives for the

     Settlement Class (collectively, “Plaintiffs” or “Named Plaintiffs”) by the Court.2 Ms. Gerber is

     one of the attorneys personally involved in this Action, and is responsible for its prosecution.

     She is a member of Keller Rohrback’s Employee Benefits and Retirement Security Practice

     Group. She has personal knowledge of the facts set forth below (except as to those exclusively

     within the knowledge of the other declarant herein) and, if called as a witness, she could and

     would testify competently thereto.

            2.     Michelle C. Yau is a Partner at Cohen Milstein Sellers & Toll PLLC (“Cohen

     Milstein”), one of the two firms preliminarily approved as Class Counsel.3 Ms. Yau is also one

     of the attorneys personally involved in the litigation of this Action and is responsible for its

     prosecution. She is Co-Chair of Cohen Milstein’s Employee Benefits/ERISA practice group.

     She has personal knowledge of the facts set forth below (except as to those exclusively within

     the knowledge of the other declarants herein) and, if called as a witness, she could and would

     testify competently thereto.

            3.     Class Counsel have been primarily responsible for the prosecution of this Action

     and negotiation of the Settlement Agreement. Armstrong Law has served as Local Counsel and




 2
   Order Prelim. Approving the Settlement, Certifying the Class, Approving Notice to the Class,
   and Scheduling Final Approval Hr’g (“Preliminary Approval Order” or “Prelim. Approval
   Order”) at 4, ECF No. 244.
 3
   Id.


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     Kessler Topaz Meltzer & Check, LLP (“Kessler Topaz”) and Izard Kindall & Raabe LLP

     (“Izard Kindall”) have served as counsel for Plaintiffs (collectively, “Plaintiffs’ Counsel”).

            4.     The Settlement Agreement, preliminarily approved by the Court’s Preliminary

     Approval Order of October 7, 2020, provides substantial relief to the Settlement Class

     Members.

            5.     Under the Settlement, OSF HealthCare System (“OSF”) will contribute $25

     million to The Sisters of the Third Order of St. Francis Employees Pension Trust (the “Master

     Trust”) for the benefit of The Sisters of the Third Order of St. Francis Employees Pension Plan,

     and the Retirement Plan for Employees of St. Anthony’s Health Center (collectively, the “OSF

     Plans” or the “Plans”). For five fiscal years (Fiscal Years 2021 through 2025), OSF will make

     annual cash contributions to the Plans of a minimum of $5 million per year, for a total

     contribution of $25 million, although OSF may make cash contributions greater than $5 million

     per year until it reaches $25 million. Ex. A § 7.1.1.

            6.     The Settlement also establishes, through Fiscal Year 2025, or until such time as

     $25 million is contributed to the Plans, certain equitable provisions that are comparable to

     provisions of ERISA, 4 including benefits guarantees and restrictions on benefits cutbacks, as

     well as provision of benefits statements and other plan information. Ex. A § 8.5.1-2.

            7.     The Settlement is also a guarantee that OSF, through Fiscal Year 2025, or such

     time as the $25 million is contributed to the Plans, will contribute sufficient funds to pay the

     accrued benefits payable to Participants as they are due if the funds in the Plans’ Master Trust

     become insufficient to pay them. Id. § 8.1. If either of the Plans is merged or consolidated with

     or into another plan, or is adopted by other employers, participants and beneficiaries in the



 4
     “ERISA” refers to the federal Employee Retirement Income Security Act of 1974, as amended.


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  Plans will be entitled to an accrued benefit post-merger, adoption, or consolidation event that is

  no less than they enjoyed before the event. Id. § 8.2. Likewise, for the same time period, OSF

  guarantees that no amendment or termination of the Plans will result in a reduction of a

  participant’s accrued benefit. Id. § 8.3.

         8.     OSF has agreed to cause the payment of up to $1,750,000 for attorneys’ fees,

  expenses, and Incentive Awards to the five Named Plaintiffs, subject to Court approval. Id.

  § 7.1.2. These amounts are separate from the consideration provided to the Settlement Class

  under the Settlement and will not reduce that recovery or any other monetary and equitable

  relief for the Settlement Class.

         9.     As discussed below, this Settlement was reached after extensive research to

  develop the legal theories and factual bases for the Fourth Amended Class Action Complaint

  (“FAC”), ECF No. 138. This litigation required filing multiple amendments to the initial

  complaints filed in two different jurisdictions, briefing multiple motions to transfer venue filed

  by Defendants, responding to multiple requests by Defendants to the Judicial Panel for

  Multidistrict Litigation (“JPML”) for centralization, propounding and responding to substantial

  written discovery, reviewing tens of thousands of pages of documents, developing case

  management plans for the different phases of the case that arose as a result of the rapid

  evolution of the law on the church plan exemption before and after the Supreme Court’s

  decision in Advocate Health Care Network v. Stapleton, 137 S. Ct. 1652 (2017), and then also

  after remand from the Seventh Circuit in Smith v. OSF HealthCare System, 933 F.3d 859, 861

  (7th Cir. 2019), analyzing and developing a strategy for responding to Defendants’ motion to

  dismiss, an early motion for summary judgment, filing and briefing a motion for class

  certification, the appeal to the Seventh Circuit Court of Appeals of the district court’s summary




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  judgment decision, and arm’s-length negotiations with Defendants presided over by two

  mediators, Magistrate Judge Daly, and JAMS mediator, Mr. Meyer. Named Plaintiffs and Class

  Counsel are pleased to present this Settlement to the Court for its consideration and believe

  strongly that it should be approved.

                  I.      PROCEDURAL AND FACTUAL BACKGROUND

 A.     Initial Investigation into the ERISA Church Plan Exemption.

         10.    Class Counsel committed considerable time and resources to develop and

  prosecute this Action without any guarantee of payment. As detailed below, this litigation was

  hard fought and involved extensive investigation, review of documents, legal research,

  discovery, briefing, and motion practice, all of which were necessary to achieve a positive result

  for the Settlement Class.

         11.    Class Counsel at Keller Rohrback and Cohen Milstein are both well-established

  and successful law firms with a history of leading large-scale class actions such as this one.

         12.    This case is one of a number of cases litigated around the country that challenge

  whether hospital systems with a history of religious affiliation like OSF are entitled to claim

  that their pension plans are exempt from ERISA as “church plans,” as defined in ERISA

  § 3(33), 29 U.S.C. § 1002(33).

         13.    Class Counsel discovered and developed this area of the law with the assistance

  of the main public interest organization concerned with pension rights, the Pension Rights

  Center (“PRC”), and has been involved in litigating these church plan cases since 2013.

  Through the PRC, Class Counsel learned that thousands of hospital employees were being

  denied the rights and protections of ERISA, including funding, insurance, vesting rights, and

  disclosure rules, because hospitals claimed their pension plans were exempt church plans.




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         14.    Class Counsel devoted many hours to researching the definition of a “church

  plan” found in both ERISA and the Internal Revenue Code, ERISA § 3(33), 29 U.S.C. §

  1002(33); 26 U.S.C. § 414(e), including analyzing the statutory text, its interaction with other

  provisions in the United States Code, the legislative history of the statute, and agency and court

  interpretations of the statute. Class Counsel concluded, based upon their investigation, that this

  was a narrow exemption intended for churches, and that health care systems like OSF were

  improperly claiming the exemption.

         15.    Class Counsel concluded, based upon their investigation, that there were three

  independent and alternative statutory prerequisites for a plan to be a church plan: that it be

  “established” by a church; that it be “maintained” by either a church or a so-called “principal-

  purpose organization”; and that the participants be employed by either a church or an entity

  “controlled by or associated with” a church, as those terms were defined under ERISA. Class

  Counsel concluded that with respect to a typical hospital pension plan, none of these

  requirements was met.

         16.    Class Counsel also understood, based upon their research, that filing church plan

  cases like this one would challenge private letter rulings from the Internal Revenue Service and

  informal advisory opinions of the United States Department of Labor. They also knew that the

  defense would maintain that the small amount of church plan case law then in existence would

  favor a defense reading of the church plan exemption. And they knew that once even a few of

  the cases were filed, the major hospitals claiming religious ties, which employ hundreds of

  thousands of people, would be arrayed against them.




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            17.    Nevertheless, Class Counsel decided to take on this high-stakes, high-risk

     litigation. Initially, Class Counsel were the only lawyers to do so.5 The early results in the

     district courts were mixed,6 but when the first three cases reached the appellate courts, Class

     Counsel achieved major victories.7 All three courts ruled unanimously in favor of the plaintiffs.

            18.    The hospital system defendants in those cases then sought review in the Supreme

     Court. The Supreme Court granted certiorari and consolidated the three cases in December

     2016. Class Counsel represented the plaintiffs in the Supreme Court. Class Counsel researched

     and analyzed applicable law and potential defenses as they prepared to argue before the

     Supreme Court; oral argument was heard March 27, 2017. The Supreme Court issued its

     unanimous decision on June 5, 2017, reversing the holdings of the appellate courts. Advocate,

     137 S. Ct. 1652 (2017). After Advocate, Class Counsel continued to pursue, on behalf of the

     plaintiffs, several alternative arguments in the district courts, including in this case. They also

     amended complaints in other church plan cases to reflect the Advocate decision and to pursue

     plaintiffs’ arguments that the pension plans of these hospital systems are not church plans.




 5
   Additional “church plan” cases were filed by Plaintiffs’ Counsel at Kessler Topaz and Izard
   Kindall beginning in 2015. See, e.g., Tucker v. Baptist Health Sys., Inc., No. 15-382 (N.D. Ala.
   Mar. 3, 2015).
 6
   Compare, e.g., Order, Chavies v. Catholic Health E., No. 13-1645 (E.D. Pa. Mar. 28, 2014),
   ECF No. 67; Kaplan v. Saint Peter’s Healthcare Sys., No. 13-2941, 2014 WL 1284854 (D.N.J.
   Mar. 31, 2014); Rollins v. Dignity Health, 19 F. Supp. 3d 909 (N.D. Cal. 2013); and Stapleton
   v. Advocate Health Care Network & Subsidiaries, 76 F. Supp. 3d 796 (N.D. Ill. 2014), with
   Overall v. Ascension Health, 23 F. Supp. 3d 816 (E.D. Mich. 2014); Medina v. Catholic Health
   Initiatives, No. 13-1249, 2014 WL 4244012 (D. Colo. Aug. 26, 2014); and Lann v. Trinity
   Health Corp., No. 14-2237, 2015 WL 6468197 (D. Md. Feb. 24, 2015).
 7
   Rollins v. Dignity Health, 830 F.3d 900, 905 (9th Cir. 2016); Stapleton v. Advocate Health
   Care Network, 817 F.3d 517 (7th Cir. 2016); Kaplan v. Saint Peter’s Healthcare Sys., 810 F.3d
   175 (3d Cir. 2015).


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 B.     Class Counsel’s Prosecution of This Action and Settlement Negotiations.

        1.      The Complaints and Course of Litigation.

         19.    On April 27, 2016, Plaintiff Sheilar Smith, represented by Class Counsel, and

  Armstrong Law Firm LLC, Local Counsel, filed this case in this district. Class Action Compl.,

  ECF No. 1. The case was amended shortly thereafter to add Plaintiff Kasandra Anton. First Am.

  Class Action Compl., ECF No. 7. Soon thereafter, another case, with other plaintiffs,

  represented by other counsel at Kessler Topaz and Izard Kindall filed a similar case in the

  Central District of Illinois. Complaint, Bailey v. OSF HealthCare Sys., No. 16-1137 (C.D. Ill.

  May 3, 2016), ECF No. 1. Venue disputes followed, and Defendants filed motions to transfer

  and also requests to the Judicial Panel for Multidistrict Litigation for centralization. Eventually,

  the Bailey plaintiffs voluntarily dismissed their case and were added as plaintiffs to the Smith

  case. See Bailey v. OSF HealthCare Sys., No. 1:16-cv-01137-SLD-TSH, 2017 WL 4319113

  (C.D. Ill. Sept. 28, 2017). See also FAC, ECF No. 138.

         20.    This case was litigated for over four years. On February 8, 2017, the Smith

  Plaintiffs filed a Second Amended Class Action Complaint, ECF No. 98. Discovery had

  commenced in the fall of 2016 but was stayed in the spring of 2017 until shortly after the

  Supreme Court’s decision in Advocate, 137 S. Ct. 1652 (2017). The issue presented to the

  Supreme Court in Advocate was whether, as Plaintiffs alleged here, and as the lower courts had

  held, a church plan must be established by a church in order to qualify as an ERISA-exempt

  church plan. The Supreme Court issued its decision on June 5, 2017, holding that pension plans

  need not be established by churches in order to qualify as ERISA-exempt church plans, so long

  as other conditions necessary for church plan status are satisfied. Id. This case returned to

  litigation on the alternative theories of liability unaddressed in Advocate.




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          21.    On July 25, 2017, Plaintiffs amended their complaint to reflect the Advocate

   decision, Third Am. Class Action Compl., ECF No. 120, and added additional state law claims.

   The parties set a new case schedule and resumed discovery. Scheduling & Disc. Order, ECF

   No. 126. On September 8, 2017, Defendants filed a Motion to Dismiss the state law claims,

   ECF No. 130. Plaintiffs filed their Opposition to Defendants’ Motion to Dismiss on October 10,

   2017, ECF No. 135. Pursuant to stipulation, the FAC was filed on October 12, 2017, following

   voluntary dismissal and transfer of the Bailey Action, and adding the Bailey plaintiffs to the

   Smith Action. FAC, ECF No. 138. On December 5, 2017, the Court granted Defendants’

   Motion to Dismiss counts X-XIV (the state law claims) from Plaintiffs’ FAC, ECF No. 142.

   During the fall of 2017, discovery proceeded, and the parties began negotiating search terms,

   issued deposition notices, and continued exchanges of written discovery and discovery

   correspondence.

          22.    On December 29, 2017, Defendants filed an early Motion for Summary

   Judgment, ECF No. 147. Plaintiffs then filed a Rule 56(d) motion requesting that judgment be

   deferred to allow time for additional discovery, ECF No. 162, and also opposed the summary

   judgment motion. While the summary judgment motion was pending, Plaintiffs also filed and

   briefed a motion for class certification. ECF No. 178.

          23.    This Court granted Defendants’ summary judgment motion on September 28,

   2018. Smith v. OSF HealthCare Sys., 349 F. Supp. 3d 733 (S.D. Ill. 2018). Plaintiffs appealed to

   the Seventh Circuit, which reversed and remanded for further proceedings. Smith v. OSF

   HealthCare Sys., 933 F.3d 859, 861 (7th Cir. 2019). In September 2019 the case returned to

   active litigation, and this Court set a new schedule for completing discovery. Am. Joint Report

   of the Parties & Proposed Scheduling & Disc. Order, ECF No. 220.




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         2.      Settlement Negotiations.

          24.    After the case was remanded from the Seventh Circuit in the late summer of 2019,

   the Parties resumed discovery and also commenced settlement negotiations. The settlement

   negotiations were extensive and took place over the course of ten months. These negotiations

   began before Magistrate Judge Daly, and were later overseen by Robert A. Meyer, Esq., a

   highly experienced mediator affiliated with JAMS. Mr. Meyer has substantial experience

   mediating cases involving ERISA and retirement plan issues, including cases involving the

   church plan exemption.

          25.    The settlement negotiations included an in-person mediation session followed by

   numerous telephone calls and meetings. Both Class Counsel and Defendants’ Counsel provided

   the mediators with their respective, confidential mediation statements and also exchanged

   multiple proposals and counter-proposals with each other concerning potential settlement terms.

   The mediators were in contact with the Parties both orally and in writing.

          26.    An in-person mediation session took place on October 23, 2019 with Magistrate

   Judge Daly in Benton, Illinois. While settlement was not reached at that time, after the initial

   conference Magistrate Judge Daly continued to facilitate settlement and settlement

   communication between the parties. The Parties remained unable to settle and the referral to

   Magistrate Judge Daly for settlement discussions was terminated by this Court on February 13,

   2020. Notice, ECF No. 232.

          27.    Following additional discussion between the Parties, the Parties retained Robert

   A. Meyer, Esq., of JAMS, on March 4, 2020, to further assist them with resolution of this matter

   through mediation. Settlement discussions were thereafter conducted by Mr. Meyer via

   teleconference with the Parties.




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          28.    From March 4, 2020 through July 13, 2020, the Parties communicated with Mr.

   Meyer telephonically to pursue settlement. The Parties finally accepted a mediator’s proposal

   on July 13, 2020 as to both the class settlement amount and the attorneys’ fees. The Parties

   thereafter prepared and signed a Settlement Term Sheet memorializing the key provisions of the

   agreement, and subsequently informed the Court on July 30, 2020 that they had reached a

   settlement and requested that the case be stayed pending the filing of a motion for preliminary

   approval. Joint Notice of Settlement, ECF No. 235.

          29.    The Parties drafted the Settlement Agreement as a fully detailed, comprehensive

   agreement that was executed by all Parties on September 17, 2020.

          30.    Throughout the mediation process, negotiations were conducted at arm’s length

   and without collusion.

  C.     Overview of the Settlement Agreement.

          31.    The Settlement provides that Named Plaintiffs, on behalf of themselves and the

   Settlement Class, have agreed to settle all Released Claims, Ex. A § 3.1, against Defendants and

   other Releasees, id. § 1.18.

          32.    In negotiating the Settlement, Named Plaintiffs and Class Counsel were

   concerned with the underfunding of the two OSF Plans. Under the Settlement, OSF will

   contribute $25 million in cash, of at least $5 million per year, to the two OSF Plans. Id. § 7.1.1.

   OSF may make the Annual Payment in a lump sum at any point during the Fiscal Year or may

   split the payment into a number of payments throughout the year. Id.

          33.    The Settlement establishes, through Fiscal Year 2025, or until such time as

   $25 million is contributed to the Plans, certain equitable provisions that are comparable to

   provisions of ERISA including benefits guarantees for participants and protection against

   cutbacks of accrued benefits, and also provisions concerning plan administration such as


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   imposing requirements to provide pension benefit statements, and disclosures required within

   summary plan descriptions (“SPDs”). Id. § 8. As a result of these provisions, participants in the

   Plans may request pension benefit statements twice per year, and OSF will update and distribute

   a Summary of Material Modification or Summary Plan Description to include information

   regarding the Plans’ claim review procedures. Id. § 8.5.1-2.

           34.    OSF also guarantees through Fiscal Year 2025, or until such time as $25 million

   is contributed to the Plans as provided in section 7.1.1 of the Settlement Agreement, that if the

   Plans are merged with or into another plan, adopted by additional employers, or consolidated

   with another plan, then the participants and beneficiaries in the Plans will be entitled to an

   accrued benefit post-merger, adoption, or consolidation event that is no less than they enjoyed

   before that event. Id. § 8.2.

  D.      The Settlement Mitigates the Costs, Risks and Delay of Trial and Appeal.

           35.    In Class Counsel’s opinion, and considering the time and expense necessary to

   litigate the ancillary issues surrounding whether these particular Plans are properly maintained

   as ERISA-exempt church plans, this Settlement represents a particularly strong and expedited

   resolution for the Settlement Class. Named Plaintiffs have entered into the Settlement with an

   understanding of the strengths and weaknesses of their claims. This understanding is based on:

   (1) the dialogue in mediation sessions and other settlement discussions; (2) investigation and

   research; (3) the likelihood that Plaintiffs would prevail at trial; (4) the range of possible

   recovery; and (5) the substantial complexity, expense, and duration of litigation necessary to

   prosecute this Action through trial, post-trial motions, and likely appeal, and the significant

   uncertainties in predicting the outcome of this complex litigation.

           36.    While this Action was progressing, the threshold issue of whether a church plan

   must be established by a church reached, and was decided by, the Supreme Court. Advocate,


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   137 S. Ct. 1652 (2017). The Supreme Court held that pension plans need not be established by

   churches in order to qualify as ERISA-exempt church plans. Id. During the pendency of this

   case, the Tenth Circuit issued an opinion in a separate but similar church plan case, Medina v.

   Catholic Health Initiatives, 877 F.3d 1213 (10th Cir. 2017), holding that the plan at issue

   qualified as a church plan because it met the requirements of ERISA § 3(33)(C)(i), 29 U.S.C.

   § 1002(33)(C)(i). While Medina was not binding on the Court, the Court relied upon its legal

   framework when ruling on Defendants’ motion for summary judgment. Smith, 349 F. Supp. 3d

   733 (S.D. Ill. 2018). Class Counsel then appealed that decision to the Seventh Circuit, and the

   Seventh Circuit reversed, but the issues remaining for litigation after that ruling were further

   narrowed, principally whether the OSF Committees “maintained” the Plans within the meaning

   of ERISA. Smith v. OSF HealthCare Sys., 933 F.3d 859, 861 (7th Cir. 2019).

          37.    Since Medina, the case law has been mixed with very strong opinions for

   plaintiffs in Rollins v. Dignity Health, 338 F. Supp. 3d 1025 (N.D. Cal. 2018) and Owens v. St.

   Anthony Medical Center, Inc., No. 14-cv-4068, 2018 WL 4682337 (N.D. Ill. Sept. 29, 2018),

   and defense outcomes in Feather v. SSM Health, No. 4:16CV1669HEA, 2018 WL 3536613

   (E.D. Mo. July 23, 2018), Memorandum Opinion & Order, Boden v. St. Elizabeth Medical

   Center, Inc., No. 16-49 (E.D. Ky. July 25, 2019), ECF No. 151, Order, Sheedy v. Adventist

   Health System Sunbelt Healthcare Corp., No. 16-1893 (M.D. Fla. Jan. 7, 2020), ECF No. 132;

   and Sanzone v. Mercy Health, 326 F. Supp. 3d 795 (E.D. Mo. 2018), 954 F.3d 1031 (8th Cir.

   2020), 2020 WL 6483951 (E.D. Mo. Nov. 4, 2020).

          38.    Class Counsel are very experienced in litigating such claims, and have every

   confidence that they would ultimately prevail, but they cannot deny that in the face of Advocate

   and the decisions of this Court, and the Seventh Circuit there is significant risk in further




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   litigation. Following Advocate and the Seventh Circuit remand, additional factual and legal

   issues remain in this litigation, including how the Supreme Court’s ruling will apply to the

   specific facts of this case; class certification; liability; and damages. Continued litigation of this

   matter would necessitate additional formal discovery (including document discovery and many

   depositions), and extensive motion practice. Additionally, trial preparation would require great

   effort, both by the Parties and the Court. The Settlement eliminates that risk.

  E.     The Work of Named Plaintiffs and Class Counsel.

           39.    Prior to instigating the Action, and throughout the course of the Action and the

   Parties’ negotiations, Class Counsel worked with the Named Plaintiffs to investigate the facts,

   circumstances, and legal issues associated with the allegations and defenses in the Action.

           40.    Class Counsel’s and Plaintiffs’ Counsel’s investigation and work in this Action

   included, inter alia: (a) inspecting, reviewing, and analyzing financial statements, corporate

   records, bond offerings, and other documents publicly available and/or produced by Defendants

   or otherwise relating to Defendants, the Plans, and the administration and funding of the Plans;

   (b) reviewing documents and information produced by Named Plaintiffs and tens of thousands

   of pages of documents produced by Defendants; (c) researching and analyzing the applicable

   law with respect to the claims asserted in this Action and the possible defenses thereto, and

   following the Supreme Court’s decision in Advocate, researching additional state law claims;

   (d) amending the complaint multiple times; (e) litigating the proper venue for the two cases;

   (f) responding to Defendants’ requests to the JPML for centralization of the cases; (g)

   propounding and responding to written discovery requests; (h) preparing discovery disputes for

   resolution by the Court; (i) briefing Defendants’ motion to dismiss and motion for summary

   judgment; (j) appealing the district court’s grant of summary judgment to the Seventh Circuit

   Court of Appeals; and (k) exploring potential remedies.


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          41.      Throughout the course of the Action and during the Parties’ negotiations, the

   Named Plaintiffs collected documents, contributed to the factual development of the case,

   reviewed and approved the complaints, reviewed and responded to discovery, reviewed and

   approved other major filings in the Action, maintained contact with Class Counsel, stayed

   abreast of the mediation and settlement negotiations, and advised on the settlement of this

   Action. See Ex. I (Declaration of Sheilar Smith in Support of Approval of Settlement

   Agreement) ¶¶ 3, 5-11, 14-15; Ex. J (Declaration of Kasandra Anton in Support of Approval of

   Settlement Agreement) ¶¶ 3, 5-11, 14-15; Ex. K (Declaration of Bonnie Bailey in Support of

   Approval of Settlement Agreement) ¶¶ 3, 5-11, 14-15; Ex. L (Declaration of Peggy Wise in

   Support of Approval of Settlement Agreement) ¶¶ 3, 5-11, 14-15; and Ex. M (Declaration of

   June Schwierjohn in Support of Approval of Settlement Agreement) ¶¶ 3, 5-11, 14-15.

  F.     Preliminary Approval.

          42.      Plaintiffs’ Unopposed Motion for Preliminary Approval of Settlement and for

   Certification of a Settlement Class (“Preliminary Approval Motion”), ECF No. 240, was filed

   on September 22, 2020. The Court granted preliminary approval of the Settlement on October 7,

   2020. See Prelim. Approval Order, ECF No. 244. As part of this process, Class Counsel took the

   lead on drafting the Class Notice to be sent to current and former participants and beneficiaries

   of the Plans.

          43.      In accordance with the Preliminary Approval Order, the Settlement Class has

   been provided with ample and sufficient notice of this Settlement, including an appropriate

   opportunity to voice objections, which are due to be submitted by December 18, 2020.

          44.      The Class Notice contains detailed information about the Settlement, including:

   (1) a comprehensive summary of the Settlement’s terms; (2) notice of Class Counsel’s intent to

   request attorneys’ fees, reimbursement of expenses, and Incentive Awards to Named Plaintiffs


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   for the services performed in this Action; and (3) detailed information about the Released

   Claims. See Ex. B. In addition, the Class Notice provided information about the Fairness

   Hearing date, rights of Settlement Class Members to object (and deadlines and procedures for

   objecting), and the procedure to receive additional information. Id. The mailed Class Notice

   provided Settlement Class Members with contact information for Class Counsel, information on

   the toll-free phone number for inquiries, an email address for inquiries (OSFsettlement@

   kellerrohrback.com), and two website addresses for further information regarding the settlement

   (www.kellersettlements.com and https://www.cohenmilstein.com/OSFsettlement). Id. Thus, the

   Class Notice fully informed Settlement Class members of the Action and proposed Settlement

   and enabled them to make an informed decision about their rights.

          45.    By November 16, 2020, Class Counsel at Keller Rohrback posted the Settlement

   Agreement, the Class Notice, the Preliminary Approval Motion, the Preliminary Approval

   Order, and other case documents on a website identified in the Class Notice:

   http://www.kellersettlements.com.

          46.    By November 16, 2020, Class Counsel at Cohen Milstein posted the Settlement

   Agreement, the Class Notice, the Preliminary Approval Motion, the Preliminary Approval

   Order, and other case documents on the second website identified in the Class Notice:

   https://www.cohenmilstein.com/OSFsettlement.

          47.    Pursuant to the Preliminary Approval Order, Class Notice was mailed on

   November 16, 2020 to 18,773 Settlement Class members by Analytics Consulting, LLC. Ex. C

   (Declaration of Jeffrey J. Mitchell) ¶ 10. On November 17, 2020, another 493 Class Notices

   were mailed to Settlement Class members for whom additional research was required. Id. ¶ 11.

   A total of 19,266 Class Notices were mailed to Settlement Class Members. Id. ¶¶ 10-11.




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          48.         Beginning on November 16, 2020, Analytics Consulting also coordinated

   publication of a Summary Notice in thirteen newspapers located near OSF facilities in Illinois

   and Michigan. The Summary Notice provided notice of the settlement, the date of the Fairness

   Hearing, and contact information for Class Counsel. Id. ¶ 12.

          49.         As of November 30, 2020, Class Counsel at Keller Rohrback had received and

   responded to thirty-three (33) inquiries (either by phone or e-mail) from Settlement Class

   Members.

                II.        CLASS COUNSEL’S REQUEST FOR ATTORNEYS’ FEES

          50.         With respect to the statements in this Section, and Section III, infra, the declarants

   each make their declarations with respect to the attorneys’ fees and expenses incurred by their

   respective law firms only, and not as to those of each other’s law firms. True and correct copies

   of Keller Rohrback’s and Cohen Milstein’s firm résumés detailing their experiences in ERISA

   cases and church plan cases are attached hereto as Exhibits E-2 and E-4.

          51.         Pursuant to the Settlement Agreement, the Parties have agreed that Plaintiffs will

   seek no more than $1,750,000 in a petition for attorneys’ fees and reimbursement of expenses.

   Ex. A § 7.1.2. The Parties have also agreed that Plaintiffs will seek incentive awards of $5,000

   each for Named Plaintiffs Sheilar Smith, Kasandra Anton, Bonnie Bailey, Peggy Wise, and

   June Schwierjohn (totaling $25,000) to be paid out of the $1,750,000 Fee Award. Id. §§ 1.13,

   7.1.2, 7.1.4. Payment will be made by OSF in addition to the $25 million payment to the Plans,

   and other provisions of the Settlement. Id. § 7.1.3.

          52.         In total, Class Counsel, Plaintiffs’ Counsel and Local Counsel expended 5,098.90

   professional hours litigating and settling this Action. This includes time spent on the following:

   (1) researching the law bearing on the church plan exemption and concluding large hospital

   systems such as OSF were not entitled to the exemption, and investigating the non-profit


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   hospital business as it bore on liability and defenses; (2) investigating the facts of this case and

   drafting, filing, and amending the complaints; (3) reviewing thousands of pages of documents,

   including publicly available information about the Plans and documents produced by

   Defendants; (4) conducting factual and legal research, including review of Named Plaintiffs’

   documents and information; (5) responding to motions to transfer and JPML motions filed by

   Defendants; (6) propounding and responding to written discovery and preparing discovery

   disputes; (7) briefing the motion to dismiss; (8) reviewing and analyzing actuarial data for the

   Plans made available by Defendants; (9) briefing the motion for summary judgment and Rule

   56(d) motion; (10) briefing the motion for class certification; (11) preparing an appeal to the

   Seventh Circuit Court of Appeals; (12) negotiating and crafting a comprehensive Settlement

   Agreement after arm’s-length negotiations overseen by two third-party mediators; (13)

   successfully moving for preliminary approval of the Settlement; (14) drafting the Class Notice

   materials and posting them on two dedicated settlement websites; and (15) individually

   responding to thirty-three (33) inquiries of Settlement Class Members as of November 30, 2020,

   concerning the Class Notice, the Settlement, and this Action.

          53.    As this Action moves ahead through final approval proceedings, Class Counsel

   expects that they will continue to devote at least another 100 hours to this Action. Indeed, Class

   Counsel still needs to: (1) prepare for and attend the final approval hearing; (2) research, draft,

   and prepare any additional submissions requested by the Court; (3) assist Settlement Class

   Members with their inquiries; (4) respond to any objections that may arise; and (5) handle any

   resulting appeal.

          54.    The work already completed in this matter represents 3,828.60 hours from

   professionals at Keller Rohrback, 419.75 hours from professionals at Cohen Milstein, 34.5




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   hours from the professional at Armstrong Law, 672.8 hours from the professionals at Kessler

   Topaz and 143.25 hours from the professionals at Izard Kindall. These time and expense reports

   for each of the declarant firms are summarized herein and attached hereto as Exhibit E-1 (Keller

   Rohrback fees and expenses), Exhibit E-3 (Cohen Milstein fees and expenses). The time and

   expense reports for the other Plaintiffs’ Counsel firms are attached to the Final Approval

   Memorandum as Exhibit F (Declaration of Matthew H. Armstrong in Support of Plaintiffs’

   Motion for Award of Attorneys’ Fees and Reimbursement of Expenses (“Armstrong Law

   Declaration”), Exhibit G (Declaration of Mark P. Kindall in Support of Plaintiffs’ Motion for

   Award of Attorneys’ Fees and Reimbursement of Expenses (“Izard Kindall Declaration”)) and

   Exhibit H (Declaration of Donna Siegel Moffa in Support of Plaintiffs’ Motion for Award of

   Attorneys’ Fees and Reimbursement of Expenses (“Kessler Topaz Declaration”)).

             55.   Class Counsel kept files contemporaneously and documented all time spent

   developing, investigating, and prosecuting the claims in this case, and recorded their time

   worked to the nearest tenth or quarter of an hour. See Exs. E-1, E-3. See also Exs. F, G, H

   (declarations of Plaintiffs’ Counsel documenting their time-keeping practices).

             56.   The 5,098.90 hours collectively expended on this Action were reasonably spent,

   especially given the high-stakes, high-risk nature of this litigation, and the rapidly evolving area

   of law.

             57.   At Class Counsel’s hourly rates, which are comparable to those of other class

   action attorneys, the total lodestar for this Action comes to $3,274,193.75.

             58.   The $1,750,000 that Plaintiffs request in attorneys’ fees (the fee request minus

   expenses and incentive awards) therefore represents a discount of 51% from their standard

   hourly rates, resulting in a fractional multiplier of “0.498.”




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            59.   Work was allocated by Class Counsel to maximize efficiency. Class Counsel

   distributed work to minimize the fees in this Action; thus, to the extent practicable, senior

   attorneys did not do the work that could be accomplished by more junior attorneys, and

   attorneys did not do the work that could be completed by paralegals. Class Counsel assigned

   tasks depending on a number of considerations, with the goal of minimizing duplication of

   effort. If Class Counsel had not undertaken these efforts, the lodestar for this case would have

   been higher.

            60.   Presenting an ERISA case of this type on the merits invites substantial risks,

   expense, and delay. Defendants have defended their actions vigorously with respect to the Plans

   to date, and there is no reason to believe they would not continue to do so through trial and on

   further appeal if necessary. Defendants’ counsel at Morgan Lewis is highly experienced in

   defending complex ERISA class actions, which further required sufficient devotion of time and

   resources to this case.

            61.   Class Counsel have served in leadership positions in ERISA class actions in the

   past, and the hours spent on this Action are consistent with Class Counsel’s experience in those

   cases.

            62.   The schedule attached hereto as Exhibit E-1 is a summary of time spent by Keller

   Rohrback attorneys and other professional support staff in this case from April 5, 2016 through

   November 13, 2020. Laura R. Gerber is the Partner who oversaw or conducted the day-to-day

   activities in the case and oversaw the review of time records in connection with the preparation

   of the schedule. As a result of the review, reductions were made to certain time entries to reflect

   the exercise of billing judgment. The lodestar calculation is based on the firm’s regular billing

   rates as of November 13, 2020. For personnel who were Associates when this matter




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   commenced in 2016, but who became Partners during the pendency of the case, the lodestar

   calculation summarized at Exhibit E-1 includes separate entries (and billing rates) for hours

   worked as an Associate and hours worked as a Partner. For personnel who are no longer

   employed by Keller Rohrback, the lodestar calculation is based upon the billing rates for such

   personnel in his or her final year of employment by the firm.

          63.    The regular billing rates charged by Keller Rohrback in this Action are similar to

   rates that have been approved by courts across the country in other church plan cases and class

   action cases in other judicial settlement hearings, and are similar to billing rates approved in

   other recent class action cases.

          64.    The schedule attached hereto as Exhibit E-3 is a summary of time spent by Cohen

   Milstein attorneys and other professional support staff in this case in this case from April 27,

   2016 through November 13, 2020. As a result of the review, reductions were made to certain

   time entries to reflect the exercise of billing judgment. The lodestar calculation is based on the

   firm’s regular billing rates as of November 13, 2020. Michelle C. Yau is the Partner who

   oversaw or conducted the day-to-day activities in the case and oversaw the review of time

   records in connection with the preparation of the schedule. For personnel who are no longer

   employed by Cohen Milstein, the lodestar calculation is based upon the billing rates for such

   personnel in his or her final year of employment by the firm.

          65.    The regular billing rates charged by Cohen Milstein in this Action are similar to

   those reflected in fee awards in other judicial settlement hearings and are similar to billing rates

   approved in other recent class action cases.

          66.    The Armstrong Law Declaration, Exhibit F, contains a summary of time spent by

   Matthew Armstrong on this matter, and is the lodestar calculation based on the firm’s current




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   billing rates from the development and inception of this case through November 13, 2020. The

   hourly rates charged by Armstrong Law in this Action are the firm’s current billing rates, which

   are charged to the firm’s hourly clients.

           67.    The Izard Kindall Declaration, Exhibit G, contains a summary of time spent by

   Izard Kindall attorneys and the lodestar calculation based on the firm’s current billing rates

   from the development and inception of this case through November 13, 2020. The hourly rates

   charged by Izard Kindall in this Action are the firm’s current billing rates, which are similar to

   rates that have been approved by courts across the country in other class action cases, and they

   are also the rates Izard Kindall charges to hourly customers.

           68.    The Kessler Topaz Declaration, Exhibit H, contains a summary of time spent by

   Kessler Topaz attorneys and the lodestar calculation is based on the firm’s current billing rates

   from the development and inception of this case through November 13, 2020. The hourly rates

   charged by Kessler Topaz in this Action are the firm’s current billing rates, and these rates are

   similar to billing rates that have been approved by courts across the country in other church plan

   cases, and also to billing rates approved in other class action cases in judicial settlement

   hearings.

           69.    The lodestar figures provided above are based on each given firm’s current billing

   rates and contemporaneous time records regularly prepared and maintained by the respective

   firms. Expense items are billed separately without markup, and such charges are not duplicated

   in a firm’s billing rates.

           70.    Keller Rohrback’s rates range from $250 to $1,035 per hour for 3,828.60 hours

   performed; Cohen Milstein’s rates range from $290 to $975 per hour for 419.75 hours

   performed; Armstrong Law’s rates are $650 per hour for 34.5 hours performed; Kessler Topaz’




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   rates range from $250 to $ 920 per hour for 672.80 hours performed; and Izard Kindall’s rates

   range from $750 to $925 per hour for 143.25 hours performed. See Exs. E-1, E-3, F, G, H. The

   lower end represents rates charged by support staff such as paralegals, while the higher end

   represents rates charged by the senior partners.

          71.    Complex ERISA class actions are nearly always litigated, as this one was, on both

   the plaintiffs’ and the defense side, by national law firms which have considerable expertise in

   the subject matter. As mentioned above, both Keller Rohrback and Cohen Milstein have

   litigated ERISA class actions, and ERISA church-plan class actions, throughout the country for

   decades. The same is true of defense counsel in this case, Morgan Lewis, which has litigated

   many such cases, including other cases in which Keller Rohrback and/or Cohen Milstein

   represented the plaintiffs. The community of ERISA class action lawyers is, thus, a national

   one. The rates here are reasonable in light of the rates used by both plaintiffs’ and defense firms

   which are members of this national bar.

          72.    Class Counsel have been awarded fees based upon similar hourly rates in other

   church plan cases. Keller Rohrback and Cohen Milstein submitted fee petitions in cases in

   which they reported hourly rates at amounts similar to those sought herein, and the courts

   approved the fee awards reflecting those rates. See Amended Order & Final Judgment ¶ 8,

   Owens v. St. Anthony Med. Ctr., Inc., No. 14-4068 (N.D. Ill. Aug. 23, 2019), ECF No. 309;

   Amended Final Judgment ¶ 23, Feather v. SSM Health, No. 16-1669 (E.D. Mo. Jul. 17, 2019),

   ECF No. 135; Order and Final Judgment ¶ 20, Holcomb v. Hospital Sisters Health Sys., No.

   16-441 (C.D. Ill. Feb. 25, 2019), ECF No. 67; Order & Final Judgment ¶ 18, In re Mercy Health

   ERISA Litig., No. 16-441 (S.D. Ohio Nov. 28, 2018), ECF No. 107; Order & Final Judgment ¶

   21, Carver v. Presence Health Network, No. 15-2905 (N.D. Ill. July 10, 2018), ECF No. 137;




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   Order & Final Judgment ¶ 19, Stapleton v. Advocate Health Care Network & Subsidiaries, No.

   14-1873 (N.D. Ill. June 27, 2018), ECF No. 172; Order & Final Judgment ¶ 21, Garbaccio v.

   St. Joseph’s Hosp. & Med. Ctr. & Subsidiaries, No. 16-2740 (D.N.J. Mar. 6, 2018), ECF No.

   116; Order & Final Judgment ¶ 21, In re Wheaton Franciscan ERISA Litig., No. 16-4232 (N.D.

   Ill. Jan. 16, 2018), ECF No. 107; Order & Final Judgment ¶ 9, Hodges v. Bon Secours Health

   Sys., Inc., No. 16-1079 (D. Md. Dec. 21, 2017), ECF No. 117; Order & Final Judgment ¶ 21,

   Butler v. Holy Cross Hosp., No. 16-5907 (N.D. Ill. June 29, 2017), ECF No. 52; Order & Final

   Judgment ¶ 10, Lann v. Trinity Health Corp., No. 14-2237 (D. Md. May 31, 2017), ECF No.

   111; Order Finally Approving Class Settlement ¶ 10, Griffith v. Providence Health & Servs.,

   No. 14-1720 (W.D. Wash. Mar. 21, 2017), ECF No. 69; Order & Final Judgment ¶ 8, Overall v.

   Ascension Health, No. 13-11396 (E.D. Mich. Sept. 17, 2015), ECF No. 115.

          73.   District courts have also granted final approval and awarded fees to Keller

   Rohrback based on the firm’s then-current rates in other, non-church plan ERISA cases. See,

   e.g., Order Granting Class Counsel’s Motion for Attorneys’ Fees, Reimbursement of Expenses

   & Plaintiffs’ Service Awards ¶ 3, Beach v. JPMorgan Chase Bank, No. 17-cv-563 (S.D.N.Y.

   Oct. 7, 2020), ECF No. 232 (awarding then-current attorneys’ rates between $400 and $1035);

   Final Judgment & Approving Class Action Settlement at 15, Spires v. Schools, No. 16-616

   (D.S.C. Sept. 5, 2018), ECF No. 152 (awarding then-current attorneys’ rates between $230 and

   $940); Order Awarding Attorneys’ Fees, Service Awards, & Reimbursement of Litigation

   Expenses ¶ 5, In re Bank of N.Y. Mellon Corp. Forex Transactions Litig., MDL No. 2335

   (S.D.N.Y. Sept. 24, 2015), ECF No. 637 (awarding then-current attorneys’ rates between $475

   and $895); Order Approving Attorney’s Fees, Expenses & Incentive Awards ¶ 5, Diebold v.

   N. Tr. Invs., N.A., No. 09-1934 (N.D. Ill. Aug. 10, 2015), ECF No. 285 (awarding then-current




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      attorneys’ rates between $395 and $895); Order & Final Judgment ¶ 8, In re Bear Stearns Cos.

      ERISA Litig., No. 08-2804 (S.D.N.Y. Sept. 20, 2012), ECF No. 163 (awarding then-current

      attorneys’ rates between $295 and $785); Order Granting Plaintiffs’ Motion for Final Approval

      ¶ 10, In re Ford Motor Co. ERISA Litig., No. 06-11718 (E.D. Mich. Feb. 15, 2011), ECF No.

      291 (awarding then-current attorneys’ rates between $331 and $740).

             74.    District courts have also granted final approval and awarded fees to Cohen

      Milstein based on the firm’s then-current rates in many ERISA and other class actions. See, e.g.,

      Order & Judgment Granting Motion for Final Approval of Class Settlement & Awarding

      Attorneys’ Fees, Costs, & Service Awards ¶ 7, LLE One, LLC v. Facebook, No. 16-6232 (N.D.

      Cal. June 26, 2020), ECF No. 211 (approving attorneys’ fee award based on then-current rates

      between $250 and $940); Notice of Entry of Final Judgment & Order of Dismissal at 20 (¶ 10),

      In re Wynn Resorts, Ltd. Derivative Litig., No. 18-769630-B (D. Nev. Mar. 10, 2020)

      (approving attorneys’ fee award based on then-current rates between $290 and $1045);8 Order

      Granting Direct Purchaser Plaintiffs’ Revised Motion for an Award of Attorneys’ Fees,

      Reimbursement of Expenses, & Service Award for the Class Representative at 3 (¶ 1), In re

      Resistors Antitrust Litig., No. 15-3820 (N.D. Cal. Mar. 24, 2020), ECF No. 587 (approving

      attorneys’ fee award based on then-current rates); Order on Lead Counsel’s Motion for an

      Award of Attorneys’ Fees, Reimbursement of Litigation Expenses & Reimbursement of Lead

      Plaintiff’s Costs & Expenses ¶ 6, Constr. Workers Pension Tr. Fund v. Navistar Int’l Corp., No.

      13-2111 (N.D. Ill. Nov. 1, 2016), ECF No. 183 (approving then-current attorneys’ rates between

      $475 and $945 on a lodestar cross-check); Memorandum Opinion & Order at 6-7, 10, Severstal



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      https://www.cohenmilstein.com/sites/default/files/Wynn%20Order%20Re%20Final%20
      Judgment%20and%20Order%20of%20Dismissal%2003102020.pdf.


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   Wheeling, Inc. Ret. Comm. v. WPN Corp., No. 10-954 (S.D.N.Y. Apr. 21, 2016), ECF No. 300

   (awarding then-current attorneys’ rates between $450 and $665); Order Granting Plaintiffs’

   Motion for Final Approval of the Class Action Settlement ¶ 24, Dooley v. Saxton, No. 12-1207

   (D. Or. Oct. 19, 2015), ECF No. 187 (awarding then-current attorneys’ rates between $375 and

   $790); Order Granting Lead Counsel’s Motion for an Award of Attorneys’ Fees &

   Reimbursement of Litigation Expenses ¶ 2, In re Bear Stearns Mortg. Pass-Through

   Certificates Litig., No. 08-8093 (S.D.N.Y. May 27, 2015), ECF No. 287 (awarding then-current

   attorneys’ rates between $210 and $915); and Order on Lead Counsel’s Motion for an Award of

   Attorneys’ Fees & Reimbursement of Litigation Expenses ¶ 6, N.J. Carpenters Health Fund v.

   Residential Capital, LLC, No. 08-8781 (S.D.N.Y. July 31, 2015), ECF No. 353 (awarding then-

   current attorneys’ rates between $240 and $915).

          75.    Additionally, Class Counsel’s rates are on a par with, or even below, other

   plaintiffs’ firms performing similar work. See, e.g., In re Volkswagen “Clean Diesel” Mktg.,

   Sales Practices, & Prods. Liab. Litig., MDL No. 2672, 2017 WL 1047834, at *5 (N.D. Cal.

   Mar. 17, 2017) (finding a lodestar cross-check supports the reasonableness of Class Counsel’s

   requested fees and approving partner billing rates ranging from $275 to $1600); Order

   Awarding Attorneys’ Fees & Litigation Expenses at 2-3, La. Firefighters Ret. Sys. v. N. Tr.

   Invs., N.A., No. 09-7203 (N.D. Ill. Aug. 5, 2015), ECF No. 499 (approving fee award, including

   rates for attorneys ranging from $340 to $975 per hour); Order Awarding Attorneys’ Fees &

   Expenses ¶ 3, In re Fannie Mae 2008 Sec. Litig., No. 08-7831 (S.D.N.Y. Mar. 3, 2015), ECF

   No. 552 (approving rates for attorneys ranging from $300 to $975 per hour); Order Awarding

   Attorneys’ Fees & Expenses ¶ 3, In re Massey Energy Co. Sec. Litig., No. 10-689 (S.D. W. Va.

   June 4, 2014), ECF No. 203 (approving fees for attorneys ranging from $275 to $975 per hour).




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             76.    Class Counsel’s rates are also comparable to those of defense firms that are

      defending church plan cases, such as defense counsel in this matter. The 2020 billing rates for

      attorneys at Morgan Lewis in bankruptcy matters, for example, ranged from $250 to $1250.9

             77.    The representation agreements entered into between Class Counsel and Named

      Plaintiffs Sheilar Smith, Kasandra Anton, Bonnie Bailey, Peggy Wise, and June Schwierjohn

      provide that no fee requested by Class Counsel will exceed one-third of the value of the

      recovery.

             78.    At this time, no Settlement Class member has filed anything with the Court

      concerning the Settlement. As a result, there have been no objections to the Settlement and/or to

      the award of attorneys’ fees and expenses.

                                III.    CLASS COUNSEL’S EXPENSES

             79.    Class Counsel and Plaintiffs’ Counsel have advanced or incurred a total of

      $92,881.79 in expenses to date. Summaries of each firms’ expenses are attached hereto as

      Exhibit E-1 (Keller Rohrback’s expenses), Exhibit E-3 (Cohen Milstein’s expenses), and as

      Exhibits F through H to the Final Approval Memorandum (attaching Armstrong Law, Izard

      Kindall and Kessler Topaz expenses). The expenses incurred in developing and prosecuting this

      litigation are commercially reasonable and are reflected on the books and records of each firm.

      These books and records are prepared from expense vouchers, check records, and other source

      materials and represent an accurate recordation of the expenses incurred.

             80.    The categories of expenses for which Class Counsel seek reimbursement are the

      type of expenses routinely charged to hourly clients and should therefore be reimbursed here.

      These costs included, inter alia: filing fees; process service fees; printing and copying charges;


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      First Combined Monthly Fee Statement of Morgan Lewis at 7, In re Covia Holdings Corp., No.
      20-33295 (Bankr. S.D. Tex.), ECF No. 581.


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   postage and delivery charges; telecommunications charges; computer-based research, Relativity

   database services and licensing costs, and other research costs; travel expenses (transportation,

   meals, lodging, and parking) for client meetings, court appearances, and mediation; mediator’s

   charges and also actuarial expert consulting expenses. These expenses are typically billed by

   attorneys to paying clients and are calculated based on the actual expenses of these services in

   the markets in which they have been provided. Class Counsel maintains appropriate back-up

   documentation for each expense. These expenses incurred were necessary to secure the

   resolution of this litigation.10

           81.    On a firm-by-firm basis, the expenses incurred are as follows:

                          Firm                      Expenses
                          Keller Rohrback            $63,644.47
                          Cohen Milstein             $21,227.92
                          Armstrong Law                $167.47
                          Izard Kindall               $1,264.10
                          Kessler Topaz               $6,577.83
                          TOTAL                      $92,881.79

  See Exs. E-1, E-3, F, G, H.

           82.    These expenses were advanced with no guarantee of recovery. As a result, Class

   Counsel had a strong incentive to keep costs to a reasonable level and did so.

                    IV.      INCENTIVE AWARDS TO NAMED PLAINTIFFS

           83.    Class Counsel also wish to note the efforts made on behalf of the Settlement Class

   by the five Named Plaintiffs—Sheilar Smith, Kasandra Anton, Bonnie Bailey, Peggy Wise, and

   June Schwierjohn.




  10
    Class Counsel filed a Bill of Costs for costs incurred in the appeal to the Seventh Circuit. Bill
   of Costs & Attorney Declaration, Smith v. OSF HealthCare Sys., No. 18-3325 (7th Cir. Aug.
   27, 2019, Appeal Dkt. No. 59. Payment received from Defendants pursuant to the Bill of Costs
   has been credited in this expense submission.


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          84.    The Named Plaintiffs have actively worked with Class Counsel throughout the

   litigation. They collected documents relating to their employment at OSF and their participation

   in the Plans and assisted with the case investigation and factual development of the case;

   reviewed drafts of the pleadings and approved the filing of the final versions of the complaints;

   reviewed and responded to written discovery, stayed abreast of the filings and settlement

   negotiations; and were involved in the mediation and ultimate settlement of this litigation. The

   Named Plaintiffs communicated with Class Counsel and Plaintiffs’ Counsel throughout this

   lawsuit. They contributed time that could otherwise have been devoted to work and family

   obligations and did so in order to help the members of the Settlement Class secure relief.

          85.    The Class Notice sent to the Settlement Class Members disclosed that Class

   Counsel would seek Incentive Awards of up to $5,000 for each of these Named Plaintiffs, to be

   deducted from the $1,750,000 Fee Award described in the Settlement Agreement. Ex. B § 11.

   To date, no objections to the Incentive Awards have been received.

          86.    Class Counsel believe that payment of Incentive Awards to these Named

   Plaintiffs is justified in this Action, and that the amounts are fair and reasonable in light of the

   burdens Named Plaintiffs undertook and the benefits that Named Plaintiffs helped achieve for

   the Settlement Class. Class Counsel accordingly asks the Court to recognize the efforts of

   Named Plaintiffs by awarding incentive awards in the amount of $5,000 each.

                                        V.      CONCLUSION

          87.    For the reasons discussed herein, Class Counsel has concluded that the Settlement

   is a fair, reasonable, and adequate resolution of the claims against Defendants in this ERISA

   class action. The requested attorneys’ fees, reimbursement of expenses, and incentive awards to

   the Named Plaintiffs are warranted as well. Named Plaintiffs and Class Counsel respectfully

   request that the Court approve: (1) Plaintiffs’ Unopposed Motion for Final Approval of


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   Settlement Agreement and Certification of Settlement Class; and (2) Plaintiffs’ Unopposed

   Motion for Award of Attorneys’ Fees and Reimbursement of Expenses, and for Incentive

   Awards, and enter the [Proposed] Order and Final Judgment, attached as Exhibit N to the Final

   Approval Memorandum, in its entirety.

         We declare under penalty of perjury under the laws of the United States of America that

  the foregoing is true and correct.



         Executed this 1st day of December 2020, in Seattle, Washington.

                                                  By: /s/ Laura R. Gerber
                                                     Laura R. Gerber
                                                     KELLER ROHRBACK L.L.P.
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          Executed this 1st day of December 2020, in Washington, D.C.

                                                  By: /s/ Michelle C. Yau
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                                                      Class Counsel



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